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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION
WSOU INVESTMENTS, LLC
Plaintiff,
vs.                                                 Case No.: 6:20-cv-01169-ADA
SALESFORCE.COM, INC.,
Defendant.

                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Ray Zado                                                 , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Defendant, Salesforce.com, Inc.                   in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Quinn Emanuel Urquhart & Sullivan, LLP.                  with offices at:

               Mailing address: 555 Twin Dolphin Drive, 5th Floor

               City, State, Zip Code: Redwood Shores, CA 94065

               Telephone: (650) 801-5000                    Facsimile: (650) 801-5100


       2.      Since    October 2000                          , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of California                   .

               Applicant's bar license number is 208501                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               see attached
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
      n/a




5.    I      have         have not previously applied to Appear Pro Hac Vice in this district

      court in Case[s]:

      Number: 6:20-00178-ADA               on the 29     day of July                   , 2020 .

      Number:                              on the        day of                        ,         .

      Number:                              on the        day of                        ,         .

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
      n/a




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
      n/a




8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

      and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Scott Cole

                 Mailing address: 201 West 5th Street, 11th Floor

                 City, State, Zip Code: Austin, TX 78701

                 Telephone: 512-348-2206


          Should the Court grant applicant's motion, Applicant shall tender the amount of $.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Ray Zado                                  to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Ray Zado
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 18 day of November                    , 21       .

                                                        Ray Zado
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

WSOU INVESTMENTS, LLC
Plaintiff,
vs.                                                      Case No.: 6:20-cv-01169-ADA
SALESFORCE.COM, INC.,
Defendant.


                                                       ORDER

       BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Ray Zado                                                   , counsel for

Defendant, Salesforce.com, Inc.                          , and the Court, having reviewed the motion, enters

the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Ray Zado                                  may appear on behalf of Defendant, Salesforce.com, Inc.

in the above case.

       IT IS FURTHER ORDERED that Ray Zado                                                       , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

       SIGNED this the                day of November                                , 20 21      .




                                                         UNITED STATES DISTRICT JUDGE




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                                                Ray Zado
                                             Bar Admissions


          Court                                               Date of Admission
          State Bar of California                             10/28/2000
          Central District of California                      08/14/2017
          Northern District of California                     05/04/2001
          Southern District of California                     03/02/2011
          Federal Circuit, Court of Appeal                    08/27/2015




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